                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                           DOCKET NO. 3:14-CR-017-RJC-DCK

UNITED STATES OF AMERICA,                 )
                                          )
                  Plaintiff,              )
                                          )
      v.                                  )                        AMENDED ORDER
                                          )
KEVIN SMITH,                              )
                                          )
                  Defendant.              )
__________________________________________)


       THIS MATTER IS BEFORE THE COURT on Defendant’s “Ex Parte Motion For

Issuance Of Subpoenas” (Document No. 251) and Defendant’s “Ex Parte Motion For Issuance

Of Subpoenas” (Document No. 254), both filed March 25, 2014.               The Court finds the

Defendant’s requests to be consistent with Rule 17(b) of the Federal Rules of Criminal Procedure

and will grant the same.

       IT IS THEREFORE ORDERED that Defendant’s above-referenced ex parte motions

for trial subpoenas (Document Nos. 251, 254) shall be GRANTED; the requested subpoenas

shall be issued and served by the United States Marshal on the witnesses listed below:

                      Officer L. Evans
                      CMPD Electronic Monitoring Unit
                      601 E. Trade Street
                      Charlotte, NC 28202

                      Custodian of Records
                      Piedmont Natural Gas
                      4720 Piedmont Row Drive
                      Charlotte, NC 28210




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                     Probation Officer Claude Howell
                     Mecklenburg County Community Corrections
                     800 E. 4th Street
                     Charlotte, NC 28202

                     William D. Trantham
                     Charlotte-Mecklenburg Police Department
                     601 E. Trade Street
                     Charlotte, North Carolina 28202

                     Rachel Scott
                     Charlotte-Mecklenburg Police Department
                     601 E. Trade Street
                     Charlotte, North Carolina 28202


       IT IS FURTHER ORDERED that, consistent with Rule 17, the process costs and

witness fees shall be paid in the same manner as those paid for witnesses subpoenaed by the

government.

       SO ORDERED.

                                        Signed: March 28, 2014




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